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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

   IN RE:

   KAWIKA TREVICE WORRELL                        :      CHAPTER 13
   CAMILLE LIZETTE WORRELL                       :
              Debtors.                           :      CASE NO.: 18-51776-PMB
                                                 :

    NOTICE OF HEARING ON CONFIRMATION OF MODIFIED PLAN AND OF
    DEADLINE FOR OBJECTIONS TO CONFIRMATION OF MODIFIED PLAN

          PLEASE TAKE NOTICE that the Debtor(s) has/have filed a preconfirmation
   modification to the Chapter 13 Plan. The preconfirmation modification may materially and
   adversely change the treatment or rights of creditors from those set forth in the Chapter 13
   Plan previously filed.

          Your rights may be affected. You should read the preconfirmation
   modification carefully and discuss it with your attorney, if you have one in this
   bankruptcy case. If you do not have an attorney, you may wish to consult one.

          If you oppose confirmation of the Chapter 13 Plan, as modified, and do not want
   the court to confirm it, or if you want the Court to consider your views, then not less than
   seven days before the hearing on confirmation scheduled below, you or your attorney must:

          (1) File with the court a written objection, explaining your positions and views as
   to why the court should not confirm the Chapter 13 Plan, as modified. The written objection
   must be filed at the following address:

          Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, SW, Atlanta,
   Georgia 30303.

           If you mail your response to the Clerk for filing, you must mail it early enough so
   that the Clerk will actually receive it not less than seven days before the hearing on
   confirmation scheduled below.

           (2) Mail or deliver a copy of your written objection to the Debtor's attorney at the
   address stated below and to the Chapter 13 Trustee. You must attach a certificate of service
   to your written objection, stating when, how, and on whom (including addresses) you
   served the objection.

          If you or your attorney do not file a timely objection, the court may decide that you
   do not oppose confirmation of the Chapter 13 plan, as modified.
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          A hearing on confirmation of the Chapter 13 Plan, as modified, will be held in
   Courtroom 1202, United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta,
   Georgia 30303 at 9:30 A.M. on October 4, 2018. You or your attorney must attend the
   hearing and advocate your position.


   Dated: August 30, 2018

   __/s/________________
   Howard Slomka, Esq.
   GA Bar #652875
   Attorney for Debtor
   Slipakoff and Slomka, PC
   Overlook III
   2859 Paces Ferry Rd, SE
   Suite 1700
   Atlanta, GA 30339
   (404) 800-4001
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                   IN THE UNITED STATES BANKRUPTCY COURT
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   IN RE:

   KAWIKA TREVICE WORRELL                      :       CHAPTER 13
   CAMILLE LIZETTE WORRELL                     :
              Debtors.                         :       CASE NO.: 18-51776-PMB
                                               :

                                CERTIFICATE OF SERVICE

   This is to certify that I have this day served a copy of the within and NOTICE OF
   HEARING ON CONFIRMATION OF MODIFIED PLAN AND OF DEADLINE
   FOR OBJECTIONS TO CONFIRMATION OF MODIFIED PLAN, in the above
   styled case by depositing same in the United States mail with the adequate postage affixed
   thereto to insure delivery addressed as follows:

   Chrysler Capital
   P.O. Box 961275
   Fort Worth, TX 76161-1245

   DP Atlanta
   Post Office Box 855
   Decatur, GA 30031-0855

   DP Atlanta LLC
   1029 N Calvert St
   Baltimore, MD 21202

   LVNV Funding
   c/o Resurgent Capital Services
   PO BOX 10675
   Greenville, SC 29603-0675

   Providence Place HOA
   c/o Sentry Management
   303 Corporate Center Drive
   Suite 300A
   Stockbridge, GA 30281

   DATED: August 30, 2018

   ____/s/______
   Howard P. Slomka
   Georgia Bar #652875
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   Attorney for the Debtor
   Slipakoff & Slomka, PC
   Overlook III
   2859 Paces Ferry Rd, SE
   Suite 1700
   Atlanta, GA 30339
